                  THE THIRTEENTH COURT OF APPEALS

                                   13-23-00420-CV


                       Welder Exploration and Production, Inc.
                                         v.
                             Cactus Compression, Inc.


                                  On Appeal from the
                       36th District Court of Bee County, Texas
                        Trial Court Cause No. B-19-1185CV-A


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be dismissed. The Court orders the appeal

DISMISSED in accordance with its opinion. Costs of the appeal are adjudged against

appellant.

      We further order this decision certified below for observance.

August 22, 2024
